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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

State of Texas, et al
               Plaintiffs,

v.                                               Case No. 6:24-cv-00306

United States Department of Homeland
Security, et al,
               Defendants.




                             PLAINTIFFS’ OPPOSITION TO
             PROPOSED INTERVENORS’ MOTION TO INTERVENE AS DEFENDANTS




                                   EXHIBIT A
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 From:                Esther Sung
 To:                  Ryan Walters
 Cc:                  Karen Tumlin
 Subject:             Texas v. DHS - request to meet and confer
 Date:                Friday, August 30, 2024 2:12:48 PM
 Attachments:         image001.png
                      image002.png
                      image003.png
                      image004.png
                      image005.png


Hi, Ryan—

It is our understanding that the Federal Defendants intend to file a Motion to Vacate
the court’s administrative stay of Keeping Families Together Parole. Could you please
let us know when you might be available next Tuesday morning, 9/3, so that we can
meet and confer on a similar motion that Intervenor Defendants intend to file with the
Court? We can make ourselves available at your convenience.

Thank you,
Esther


                                 Esther Sung (she/her)
                                 Legal Director

                                 Justice Action Center
                                 323-450-7272
                                 esther.sung@justiceactioncenter.org
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